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1    KEVIN V. RYAN (CASBN 118321)
     United States Attorney
2                                                                           **E-filed 1/11/06**
     EUMI L. CHOI (WVABN 0722)
3    Chief, Criminal Division
4    JOHN N. GLANG (GUAMBN 94012)
     Assistant United States Attorney
5
        150 Almaden Boulevard, Suite 900
6       San Jose, California 95113
        Telephone: (408)-535-5084
7       Fax: (408)-535-5066
8    Attorneys for Plaintiff
9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12
13
     UNITED STATES OF AMERICA,                    )      No. CR 05-00722-JF
14                                                )
             Plaintiff,                           )
15                                                )
        v.                                        )
16                                                )
     SERGIO ENRIQUE FERREY-GOMEZ,                 )
17                                                )
             Defendant.                           )
18                                                )
19   UNITED STATES OF AMERICA,           )               No. CR 05-00723-JW
                                         )
20      Plaintiff,                       )
                                         )
21      v.                               )
                                         )
22   PONG LIN LIU, ET AL,                )
                                         )
23          Defendants.                  )
     ___________________________________ )
24
     STIPULATION REGARDING NOTICE OF RELATED CASES AND VENUE OF CASE
25
                          IT IS HEREBY STIPULATED between the parties that the United States
26
     agrees to withdraw the Notice of Related Cases in a Criminal Action and [Proposed] Order it
27
     filed on January 3, 2006 in the above-entitled cases and the defendant Sergio Enrique Ferrey-
28

     STIPULATION REGARDING NOTICE OF RELATED CASES AND VENUE OF CASE
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1    Gomez agrees that he will not file a motion to transfer venue of Case No. CR 05-00722-JF from
2    the San Jose Division to the San Francisco Division of this Court.
3
4    It is so stipulated.
5              1-9-06                                                    /S/
     Dated: ______________                                ______________________________
6                                                         JOHN N. GLANG
                                                          Assistant United States Attorney
7
     It is so stipulated:
8
     Dated: __1-9-06____________                          __________/S/________________
9                                                         GARRICK S. LEW
                                                          Attorney for Sergio Enrique Ferrey-Gomez
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     STIPULATION REGARDING NOTICE OF RELATED CASES AND VENUE OF CASE
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